Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 1 of 25 - Page ID#: 4


     CT Corporation                                                             Service of Process
                                                                                Trnsmittl
                                                                                09/24/2013
                                                                                CT Log Number 523556249
     TO: Ma Jo Spalinger
               Business Filings Incorporated (Recîpient Account Only)
               8G40 Excelsior Drive, Suite 200
               Madison, Wi 53717

     REi Process Serv In Kentucky
     FOR: Stellar Recovery, Inc. (Domestic State: FL)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVD BY THE STATUTRY AGENT OF THE ABOV COMPAY AS FOLLlI

     TITLE OF ACON,                       Melynda Maon, Pltf. vs. Stellar Reovery, Inc., Dft.
     DOCUMENT(S) SERED,                   Summons, Complaint, Exhibit(s), First Set of Interrogatories, Certificate of Servce
     COURT/AGENCY,                        Bourbon County District Court, KY
                                          Case # 13C277
     NATURE OF ACION.                     Defendant use unfair mens for collecting debts
     ON WHOMPROCEB WAS SERVED,            Busines Filings Incorporated, Frankfort, KY
     DATE AND HOUR OF SERViCe             By Certifed Mail on 09/24/2013 postmarke: "Not Post Markd"
     JURISDICION SERVED,                  Kentucky
     APEANCE OR ANER DUE:                 Within 20 days following the day this paper Is delivered to you
     ATTRHEY(S) I SENDE~S):               James H. Lawson
                                          Lawson at Law PLLC
                                          4055 Shelbyvil(e Road
                                          Suite 8
                                          Lousville, KY 40207
                                          502.4736525
     ACTON ITEM',                         CT has retained the current log, Retain Date: 09/24/2013, Expected Purge Date:
                                          09/29/2013
                                          Image SOP
                                          Email NOtification.MaryJoSpalingerctp@bizfHings.com
     BIGNED,                              Busines Filings Incorporated
     PEl                                  Amy McLaren
     ADDRE88,                             306 W. Main Street
                                          Suite 512
                                          Frankfort, KY 40601
     TELEPHONE:                           800-592-9023




                                                                                Page 1 of 1 1 GS

                                                                                Informtion displayd on this translttllls for CT Corratio's
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                                                                                domets and for tlllng approprill action. Sliiture on
                                                                                certfied mall reipts cooflmi receIpt of pa. only, not
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                                                                                                                                        EXHIBIT
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                                                                      7013 1090 0001 3630 7519




                                                              FROM:
                                                                  JAMES R. MCKENZIE ATIORNEY, PLLC
                                                                        4055 Shelbyvile Road, Suite B
                                                                             Louisvile, KY 40207


                                                              TO: Stellar Recovery, Inc.
                                                                      c/o Business Filings Incorporated
                                                                      306 W. Main St., Suite 512
                                                                      Frankfort, KY 40601
                                                                                                          Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 2 of 25 - Page ID#: 5
Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 3 of 25 - Page ID#: 6




  Aoc.r05                                                                 CASE    NO. \3-C. 0J-i Î
  Rev.    1-07
  Page 1 of 1                                                                    Bourbon Distrct Cour
  Commonwealth of Kentucky
  Cour of Justice                                                                      Bourbon Cowity
  CR 4.02 CR Offcial Form 1                  CIVIL SUMMONS                                Division


  MEL YNDA MASON                                                                          PLAINTIFF

  v.

  STELLAR RECOVERY, INC                                                                 DEFENDANT

  Serve: Business Filings   Incorporated
             306 W. Main Street, Suite 512
             Franfort, KY 40601

  THE COMMONWEALTH OF KENTUCKY
 'TO THE ABOVE-NAMED DEFENDANT(S):

             You are hereby notified. a legal action has been fied against you in this Cour
  demanding relief as shown on the document delivered to you with ths Sumons. Unless a
  written defense is made by you or by an attorney on your behalf within 20 days following
  the day this paper is delivered to you, judgrentby default may be taen again,styou for the relief
  demanded in the attached- Complaint. .

        The name( s) and address( es) of the pary or paries demanding relief agàinst you are


                                   - By:
                                      ,
  shown.. o. .n. the document delivered to YOE:' S 8=:00:£'

  Date: September l:l20J3 ~_ ~ls ,Clerk
                                                                          D.C.
                                              Proof of Service
  This summons was served by delivering a tre copy and the Complaint (or other initiating document) to:


  This              day     of       ,20_.
                                                        Served by:
                                                                                                    Title
     Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 4 of 25 - Page ID#: 7
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                                                          Commonwealth of Kentucky
                                                                                                            SE \ 220\3
                                                               Bourbon Distrct Court
                                                                       Div,
                                                              Case N o:~ 3'.7 'd'l /"


        Melynda Mason                                                                                        PLAINTIFF

        v.                                                        COMPLANT
        Stellar Recovery, Inc.                                                                             DEFENDANT
        Serve:
                  Business Filngs Incorporated
                   306 W Mai St
                  Suite 512
                  Frankfort, KY 40601

                                                          *        *      *      *       *


                                                                 INTRODUCTION

                   1. This is an action by a consumer seeking damages and declaratory relief for

        Defendant's violations of             the Fair Debt Collections Practices Act ("FDCPA"), 1 5 U.S.c. §§1692

        et seq., which prohibits debt collectors from engaging in abusive, deceptive, and unfair collection

        practices.

                   2. Defendant Stellar Recovery, Inc. ("Stellar Recovery") sent Plaintiff Melynda


        Mason a dunning letter on July 9, 2013. The July 9th letter referenced a debt to Fifth Third Bank

        and balance due of$l ,019.95. Ms. Masn paid Fifth Third the full amount due on the alleged debt

        long before Stellar acquired the debt. Moreover, the amount that Stellar Recovery claims that Ms.

        Mason owes on the debt includes interest to which Stellar has neither a contract right nor a statutory

        right to recover. These and other acts violate the FDCPA.

                                                                       PARTIES

                   3. Plaintiff           Melynda Mason is a natural person who resides in Bourbon County, Ky.

        Plaintiff is a "consumer" within the meaning of                   the FDCPA, as defined at 15 U.S.c. § 1692a(3).
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                4. Defendant Stellar Recovery, Inc. is a foreign corporation that has registered with

   the Kentucky Secretry of State. Stellar is engaged in the business of purchasing debt from

   creditors and collecting these debts from citizens of this commonwealth. Stel1ar Recovery's

   principal place of          business is located at         1327 Highway 2 West, Suite 100, Kalispell, MT 59901.

                5. Stellar Recovery regularly collects or attempts to collect debts owed or due or


   asserted to be owed or due another, and is a "debt collector" within the meaning of the FDCPA,

   as defined by 15 U.S.C. § i               692a(6).

                                                        STATEMENT OF FACTS

                6. Stellar Recovery sent Ms. Mason a duning letter on July 9, 2013. (A copy of                   the

   July 9th letter is attched as Exhibit "A").

                7. The July 9th letter referenced a Fifth Third Bank account with a balance due of


   $1,019.95.

                8. On March 19, 2012, a different debt collector, Asset Acceptance, LLC, fied suit

   against Ms. Mason in this Court in an attempt to collect the same alleged debt to Fifth Third Bank.

   (A copy of        the March i 9th Complaint is attched as Exhibit "B").

                9. Asset Acceptance's Complaint demanded recovery of a principal amount $806.67


   and accrued interest of $34.6 1.

                10. This Court dismissed Asset Acceptance's complaint without prejudice on May 23,


   2013.

                i 1. Stellar Recovery's July 9th letter does not explain its basis for inflating the amount


   due on the alleged debt by over $213.00 in the 17 months between the date that Asset Acceptance

   brought suit against Ms. Mason and the date of its dunning letter.

                12. Stellar Recovery's July 9th letter does not state that any interest has been or will be



                                                                          -2-
Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 6 of 25 - Page ID#: 9




   accred on the alleged debt.

          13. Ms. Mason disputed the debt at issue in this case with Fifth Third.

          14. Ms. Mason settled the alleged debt to Fifth Third Bank in February of2012 with a

   compromise payment that Fift Third accepted.

                                      CLAIMS FOR RELIEF:

                        Violation of the Fair Debt Collection Practices Act

          i 5. The foregoing acts and omissions of Stellar Recovery, Inc. constitute violations of


   the FDCPA, including, but not limited to:

                 a. Violation of 15 U.S.c. §1692e(5): threatening "to take any action that. . .
          is not intended to be taken" by attempting to collect a debt from Ms. Mason that she did
          not owe;

                 b. Violation of 15 U .S.c. § 1692d: attempting to collect a debt from Ms. Mason
          that she did not owe;

                 c. Violation of 15 U.S.C. §1692e(2)(A): (i) falsely representing that Ms.
          Mason owed any debt to Stellar Recovery, and (ii) including interest and/or fees on the
          alleged debt that Stellar Recovery had no legal right to impose or accrue;

                  d. Violation of 15 U .S.c. § 1692e(1 0): falsely and deceptively representing
          that Ms. Mason owed a debt that she did not owe;

                  e. Violation of 15 U .S.c. § 1692f(1): accruing interest on a debt that Stellar
          Recovery had neither a contractual nor a statutory right to collect; and

                  f. Violation of 15 U.S.C. §1692g(a)(I): incorrectly stating the amount due on
          the alleged debt by including interest and/or fees on the debt that Stellar Recovery had no
          right to collect and failing to state that the amount claimed due included interest and that
          the debt was subject to imposition of    interest and/or fees.


                                       PRAYER FOR         RELIEF

          WHEREFORE, Plaintiff Melynda Mason requests the Court grant her relief as follows:

          a. Declare that Ms. Mason does not owe Stellar Recovery Inc. any debt, including the
                  alleged debt originated by Fifth Third Bank;

          b. Award Plaintiff actual damages;

                                                    -3-
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         C. A ward Plaintiff statutory damages;


         d. Award Plaintiff    reasonable attorney's fees and costs;

         e. A trial by jury; and


         f. Such other relief as may be just and proper.



                              Respectfully Submitted,




                                     &WWD
                                     Lawson at Law, P LLC
                                     4055 Shelbyvile Road
                                     Suite B
                                     Louisvile, KY 40207
                                     Tel: (502) 473-6525
                                     Fax: (502) 473-6561
                                     james@kyclc.com

                                     James McKenzie
                                     James R. McKenzie Attorney, PLLC
                                     4055 Shelbyvile Road
                                     Suite B
                                     Louisvile, KY 40207
                                     Tel: (502)371-2179
                                     Fax: (502) 257-7309
                                     jmckenzi e@jmckenzieatty.com




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                              Exhibit "A"
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                                                            28Øl99
              Fort Mil, SC 29716-1234
              llb53~22
              ImUJf1111l                                                                           Toll Free: HH8-3/8.7041 Fax: 1-877-177.5510

       II
              1i111'11I1'11'lhl"'IIHIIi'IIII"IIIII'II'lill"IIII'I'III"1
                  ME  LYNDA MASON
                  I 131 ARLINGTON DR
                  PARIS KY 40361-2235

                                                                                                                                 July 9.2013
                                                                 Reference Number ~ 8653422
     A~eounl Number ~ 07140809604                                                     Re .. fllTli THIID ßA¡oK
                                               Balance ~ S1.019.95
     Credilor ~STELLAR RECOVERY. INC
    Dear MELYNDA MASON.
    We have been unable to come 10 an arrngement on your accoum. We undersland you cannoi "oy the entire balance at this iime. We would
    like to wOlk wiih you in your elTon.. 10 honor ihis obligaiion.
    ffyou wisb 10 iake ad,'anlage oflhis opportunily. eompleie the infonnation below and relurn ihis leller 10 our offce wiih your "ayment. We
    have oullined two options for you to begin making payments ioward your aecount.

                        ~Î~~.~k~t for                5509.98 in6 equal pDynienls ofS85.00 with the firs payment due no Inler than 0712412013 with
                        . ân'ôth'er'piiymenfofS8S.00 óue every 30 days theafter. Please indude Ihe coopon al the bollom of Uiis leiter wiih your
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                         B;ginrnlling monihly payments in the amount ofS i 0 1.99 pe month as a hardship amiemenl. TIie firsi paymeni of
                         SIOI.99 is due no loler than 071241013 wiih iulherpaymci ofSIOl.9gevery 30 days Uiereaßer. Please include Ibe
    ( 0"lion2;           coiiP.on at Ihe hOllom of this leller with your firs payment.

                                                      Call 888-318-7041 10 discuss oiher reasonable alternativcs
     STëLl.AR RECOVëRY, INC is subject 10 certin IRS reporting requiremenis for debt forgiveness exceeding S600, Wheil required.
     STELLAR RECOVERY. INC wil report debi forgii'eness on fonn 109. This is solely a filing requiremeni. STELLAR RECOVERY. INC
     is nol in n position to deiern,ine or advice yoii whether ihis will have any lax consequences. Plcase cODslih independent iax counsel of your
   ~. own i:00sing ir YOIi desire advice nboutlnx 'consequence which may resull from Ihis seiilemenl.
     Sin~erely,
     Collection Departmeni
    This is an aiiempi 10 collect /I debl and any ilifClmiation obiaincó will be used for Ihnl purpse. This eomniiinicalioii is from 0 debt colletior.




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      F.PA YlNCB.Y.CREDlT.CARO. COMPLETEiALLSICN 'AND:i~£TUR                                              Reference Number 6653422
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                                                                                            STELLAR RECOVERY, INC.
                                                                                            1327 Highway 2 W. Suiie 100
                                                                                            Kalispell MT 59901-3413


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                                                                          PRIVACY POUCY

            Ii INFORMATION WE COI.Ll:CT
                 The infomialiun we collect aboui you will vary, but may include:

                        . Infomialjon we receive from )'OU, such as your name, address, age. phone number, soial security number, assets, income,
                            or beneficiaries;

                        . Infonnaiion aboill your Ira!Ociions wiih us, with our offliales. or wilh others, such as your account infonnotion. aeeouni
                             history, credit application; and

                        . Infonalion we receive from a consumer rcponing agency. such as YOUT credii history; and


                        . Infonnalion we receive from ihird parties, such as yoiir address, phone number, or place of cmploynicnl.


                 INFORMATION WE DISCLOSE

                 We do nol disclose any nonpublic persnal iiifoniiaiion aboul our cuslomers or foniier customers to anyone. except as pcnniiied by
                 law.

                 CONFIDENTIALITY AND SECURITY

                 We resiriet access to nonpublie personul infonnaiion aboui you to those employees and agenls who need to know SU1h infoniiaiion
                 wiihin Iheir scupe of employment. We maintain physicaL. eleclronie, und procedural safeguards thol comply with fedeml regulations
                 10 protect your nonpublic personal infomiaiion.




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     Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 11 of 25 - Page ID#: 14
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                                   Exhibit "8"
   Case: 5:13-cv-00347-DCR-REW Doc #: 1-1 Filed: 10/14/13 Page: 12 of 25 - Page ID#: 15
M8R-30-2Ø12 09:02 From:BOURBON CO eir elk 8599876049                                         To: 15024736561             Page: U1




      NO. i1-;~. loC                                                                           BOURBON DISTRICT COURT
                                                                                                              DIVISiON

      ASSET ACCEPTANCE, LLC                                                                                     PLAITIFr-


      liS.                                                 COMPJ.AlN

      MI:LYNlJA J. MASON                                                                                       DEFENDANT
                                                                . " '" " '" "


      The P)aintifl~ by coun!æ), for i1.~ Cáu!'e of lief   ,ion i'g¡lÌnst the Defendant states a.-i follows:

             1. The ,Plaintiff ownsaiid ii-the hulder of it account due and owing hy the Defendant, and j!" the

             assignee of Fifth Third Bank.
             2. Th\: DdeDdanl is indebted to the I'laintiff in the amount of $806.67; plus accru interest of $34.61
             as of   Mah 13,2012.
             3. Venuc ,is propcr with this (;uul1 based un the Vefendant residing in ROURBON county.
      WIIEREFORE, Plaintiff' respectflly reuests the rnllowing rdjef:
             1. Judgment agii,l)st fhi; J)Íçiidi\t in tlii; sum of $806.67; plu:; u\;lut: inlcn;:sl of $34,6 t as of Miird¡
             1J,2012.
             2. Interest theren at the rate of K% ~er annum from March 13, 2012, and i 2% per llrmum from the
             date of Judgment. until the Judgment is !'tisfied;
             3. For Plaintiffs coi.1s herein expended;

             4. F~ir any and all other reli~f to which the plaintiff mny be entitled pur~U8nt lc cODtract, stanite, Or

             common law.



                                                                JON SeIH)
                                                               LLOYD & McDANIEL, PLC
                                                                AUon!cys flIT PJ¡üniiff
                                                                P.O. ßox 23200
                                                                Louisvile, KY 4022)-0200
                                                                (502)736-4537
             This letter is aD attempt to collect a debt, and any iófo..malión obtiiined wil m used for that
      purpose. This communication is from a debt collcdor.

      C3412S0IPSMÁJUCM/KA


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       *(341250*                                                                                                IIIII
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                                                   Corronwealth of Kentucky
                                                     Bourbon Distrct Court
                                                         Case No. 13-C-277


        Melynda Mason                                                                       PLAINTIFF

          v. PLANTIFF'S FIRST SET OF INTERROGATORIES PROPOUNDED
                   TO DEFENDANT, STELLR RECOVERY, INC.


        Stellar Recovery, Inc.                                                           DEFENDANT
                                                    *       *       *      *   *

                                                            DEFINITIONS

                "You" and "your" refer to Defendant Stellar Recovery Inc.

                "Plaintiff" refers to Plaintiff         Melynda Mason.

                "Account" means the alleged debt at issue in the July 9, 2013 dunng letter attached to
        Complaint's Complaint as Exhbit "A." This debt is identified as follows:

                Reference Number:                 8653422
                Account Number:                   071140809604
                Balance:                          $1,019.95
                Creditor:                         Stellar Recovery, Inc.

               "Duning Letter" mean the July 9, 2013 dunng letter attached to the Complaint as
        Exhibit "A."

                 "Debt" means any obligation or alleged obligation of a consumer to pay money arising
         out ofa transaction in which the money, property, insurance, or services, which are the subject of
         the transaction, are primarly for personal, family, or household purose, whether or not such
         obligation has been reduced to judgment.

                "Communications" means, directly or indirectly, conveying informtion regarding a debt
        to any person though any medium.

                "Document" means every wrting or record of every type and description that is in the
         possession, control or custody of Defendant, including but without limitation to, correspondence,
         memoranda, stenographic or handwrtten notes, studies, publications, books, pamphlets, pictues,
         fims, voice recordings, reports, surveys; minutes or statistical compilations, data processing
         cards or computer records, files, disks, or tapes or print-outs; agreements, communications, state
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    and federa governental hearngs, and reports, correspondence, telegrams, memoranda,
    sumares or records of telephone conversations, sumares or records of personal
    conversations or interviews, diares, graphs, reports, notebooks, note charts, plans, drawings,
    sketches, maps, sunares or records of meetings or conferences, sumares or reports of
    investigations or negotiations, opinions or reports of consultats, photographs, motion pictue
    film, brochures, pamphlets, advertisements, circular, press releases, drafts, letters, any marginal
    comments appearng on any document, and all other wrtings.

               Defendant Stellar Recovery, Inc. is hereby requested to answer each of                        the Interrogatories
    hereinafter set forth within 30 days from service of                         these interrogatories pursuant to the Rule 33
    of the Kentucky Rules of Civil Procedure.

            These Interrogatories should be deemed continuing, and the defendant is hereby put on
    notice to supplement these answers at any time additional information becomes available.

                1. Provide the job title and last known address of                         the person(s) most knowledgeable
    regarding the followig:

                (a) Your collection activities;
                (b) Your collectors, employees, agents, and/or affliates who had any contact with or
                           made any communcations to Plaintiff,
                ( c) Your collectors and supervisors or supervisors of said collection account manager
                           who dealt with, reviewed or made decisions concerning the Account or any other
                           debt belonging to Plaintiff, or who had any contact with or made any
                           communcations to Plaintiff

                RESPONSE:


                2. Identify the nae of each and every person who spoke with, called, contacted or
    directed letters to be issued to or wrote letters referencing Plaintiff, including their names, all
    assumed names or aliases, addresses, and home and business phone numbers, the dates they
    called and the dates said communications were made.

                RESPONSE:


                3. Identify with specificity each and every debt you have tried to collect from
    Plaintiff, including but not limited to the following information if available: (a) the original
    creditor, (b) the original account number, (c) Your account number or fie number for the debt,
    and (d) the amount of the debt.

                RESPONSE:




                                                                            2
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"




                10. State the names, addresses and job titles of all persons who performed any review,
    paricipated in the review, or supplied any information to the review of          the Account or your
    collection efforts of         the Account or any other debt allegedly owed by Plaintiff.

                RESPONSE:



                i 1. State and attch copies of results and/or outcome of each and every review of
    claims as inquired about in Interrogatory No.9, and Interrogatory No. 10.

                RESPONSE:



                i 2. Please provide a list of each and every person who spoke with, called or
    contacted, or was called with reference to Plaintiffs, including the names, all assumed names or
    aliases, addresses, and home and business phone numbers, the dates they called, the reasons for
    such call or contact, and what specifically they said to Plaintiff. State the entire, full, tota
    conversation.

                RESPONSE:



                13. State whether or not you or any agent, servant, or employee has telephoned
    Plaintiff at any time.

                (a) state the date and time of each call and the nature of
                                                                                  the call or calls;
                (b) state what was said, in detail, by and between your agent, servant or employee
                            and Plaintiff;
                (c) state the name, and any assumed names, and employment of each person making
                            such call or calls, and the purose of said calL.

                RESPONSE:


                 i 4. State whether you or your agent, servant or employee has called Plaintiff s
    neighbors, spouse, relatives or employment at any time in connection with an alleged debt or for
    any other reason:

             (a) state the date, name of each person makng the call or calls, the purpose of each such
    call, and the detals of what was said between said agent, servant, or employee to Plaintiff s
    neighbors, relatives or employer.

                RESPONSE:


                                                                              4
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"




                  4. List each and ever communication between you or any other agent, offcer, or
    employee of the company and Plaintiff or members of her household or his representatives; stte
    the date of       the communication, the author of       the communication, the contents of   the
    communication, and whether the communication was oral or wrtten.

                  RESPONSE:


                  5. State in detail everyhing you know of            the contact and state the
                                                                          the contents of

    date of each oral or wrtten communcation to Plaintiff made by any your offcers, agents or
    employees.

                  RESPONSE:


                  6. State the name, address, date of communication, content of communcation of
    each and every report or communication made by you to any other person or entity concernng
    the Account, and/or the credit history or payment history of Plaintiff.

                  RESPONSE:


                  7. State the name and address of any and all witnesses that you have contacted in
    connection with this case including, but not limited to, those that are expected to testify at the
    trial of this case.

                  RESPONSE:


                  8. State the names, addresses, telephone numbers and places of employment of all
    persons who have factu knowledge regarding the facts and circumstances involving this
    lawsuit.

                  RESPONSE:


                  9. State the names, addresses and job titles of all persons who perormed the review,
    paricipated in the review, or supplied any information to the review ofthe Account or any other
     debt allegedly owed by Plaintiff.

                  RESPONSE:




                                                                  3
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              15. Identify your employees who had any contact whatsoever with Plaintiff:


          (a) state everyhing said in detail by all parties involved in the contact and the date of
   sae. Specifically, any employee who called the Plaintiff or directed any writtn communication
   to Plaintiff.



              RESPONSE:




              16. In connection with the Account, please state the following:


              (a) The date on which you acquired the Account;
              (b) The amount owed on the Account on the date on which you acquired the Account;
   and
              (c) From whom you acquired the Account.
              RESPONSE:




              17. The Dunning Letter states that the Balance due on the Account is $1,019.95.
   Please state whether this amount includes interest.

              RESPONSE:




              18. If  the Balance due on the Account as stated in the Dunng Letter includes
   interest, please state the principal amount of the debt, the amount of accred interest on the debt,
   the interest rate applied to the Account, and the date on which you began to accrue interest on the
   Account.

              RESPONSE:



              19. If the Balance due on the Account as stated in the Dunng Letter includes
   interest, please state the legal basis on which you accrued interest on the Account.

              RESPONSE:


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           20. If    the Balance due on the Account as stated in the Dunng Letter includes interest
   and you legal basis for accruing interest is contract, please identify with paricularty the contract
   that permits you to accrue interest on the Account.

              RESPONSE:



          21. If    the Balance due on the Account as stated in the Dunning Letter includes interest
   and you legal basis for accruing interest is statutory, please identify the statute that permits you
   to accrue interest on the Account by full             legal citation.

              RESPONSE:



                                               Respectfully Submitted,




                                                       a es . Lawson
                                                      Lawson at Law, P LLC
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                                                      Suite B
                                                      Louisvile, KY 40207
                                                      Tel: (502) 473-6525
                                                      Fax: (502) 473-6561
                                                      james@kyclc.com

                                                      James McKenzie
                                                      James R. McKenzie Attorney. P LLC
                                                      4055 Shelbyvile Road
                                                      Suite B
                                                      Louisville, KY 40207
                                                      Tel: (502) 371-2179
                                                      Fax: (502) 257-7309
                                                      jmckenzie@jmckenzieatt.com




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                                          . Certificate of Service


               I hereby certify that a true and correct copy of the foregoing was served on Defendant
        Stellar Recovery, Inc. contemporaneously with the Sumons and Complaint pursuat to CR
        33.01 via U.S. Mail, postage prepaid, or email on ths 18th day of September, 2013




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                                             Commonwealth of Kentucky
                                                  Bourbon Distrct Cour
                                                   Case No. 13-C-277


             Melynda Mason                                                                      PLAINTIFF

                  v. PLAITIFF'S FIRST REQUEST FOR PRODUCTION OF
                             DOCUMENTS PROPOUNED TO DEFENDANT
                                   STELLAR RECOVERY, INC.


             Stellar Recovery, Inc.                                                         DEFENDANT
                                              *       *      *        *     *


                                                     DEFINITIONS

                    "Y ou" and "your" refer to Defendant Stellar Recovery Inc.

                    "Plaintiff" refers to Plaintiff, Melynda Mason.

                   "Account" means the alleged debt at issue in the July 9, 2013 dunnng letter attached to
             Complaint's Complaint as Exlbit "A." This debt is identified as follows:

                    Reference Number:      8653422
                    Account Number:        071140809604
                    Balance:               $1,019.95
                    Creditor:              Stellar Recovery, Inc.

                     "Assignors" mean the original creditor on the Account, and any person who has had an
             ownership interest in the Account other than you. Assignors also includes any successors to an
             Assignor by merger, corporate acquisition or other trasfer of assets that included the Account,
             even if such merger, acquisition or asset transfer did not specifically reference the Account.

                    "Communications" means, directly or indireclly, conveying information regarding a debt
             to any person through any medium.

                    "Dunng Lettet' means the July 9,2013 dunng letter attached to the Complaint as
             Exhibit" A."

                    "Debt" means any obligation or alleged obligation of a consumer to pay money arsing
             out of a transaction in which the money, propert, insurance, or services, which are the subject of
             the transaction, are primarly for personal, family, or household purose, whether or not such
             obligation has been reduced to judgment.
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                "Document" means every wrting or record of every type and description that is in the
         possession, control or custody of Defendant, including but without limitation to, correspondence,
         memoranda, stenographic or handwritten notes, studies, publications, books, pamphlets, pictues,
         fims, voice recordings, reports, sureys; minutes or statistical compilations, data processing
         cards or computer records, files, disks, or tapes or print-outs; agrements, communcations, state
         and federal governental hearngs, and reports, correspondence, telegrams, memorada,
         summares or records of   telephone conversations, sumares or records of    personal
         conversations or interviews, diares, graphs, reports, notebooks, note charts, plans, drawigs,
         sketches, maps, sumaries or records of meetings or conferences, sumares or reports of
         investigations or negotiations, opinions or reports of consultats, photographs, motion pictue
         fim, brochures, pamphlets, advertisements, circulars, press releases, drafts, letters, any marginal
         comments appearng on any document, and all other wrtings.

                 "Documentation of the Account" means and includes, unless otherwse defined, any and
         all documents and communications produced, received, and maintained by the original creditor
         regarding the Account in the ordinar coure of its business of extending credit to consumers.
         Such documentation includes, but is not limited to, the following: The initial solicitation of credit
         sent to the Defendant along with all initial disclosures regarding account terms and credit
         availability; applications for credit signed by the Defendant; account agreements, whether signed
         by the defendant or sent to the defendant; periodic account statements sent to the defendant;
         copies of payments received by means of negotiable instrments such as personal checks or
         money orders; wrtten correspondence between the original creditor and the Defendat of any
         kind; audio recordings, if any, of all telephone calls with the Defendant regarding the Account;
         and telephone logs of all attempted or completed telephone calls placed to the Defendat.
         "Documentation of the Account" specifically excludes documents such as affdavits,
         memoranda, sumares, electronic databases of account infoimation or extracts therefrom, and
         the like prepared by the original creditor in anticipation of the assignent of the Account to you
         or to another part, or in anticipation of potential or actual Iitigati on regarding the Account.

                                       REQUEST FOR PRODUCTION OF DOCUMENTS

                    Defendat Stellar Recovery, Inc. is hereby requested pursuant to Rule 34 of       the Kentucky
         Rules of     Civil Procedure to produce the following documents at the offce of         Defendats
         counsel within 30 days of the service of these requests. "Documents" includes "letters, words, or
         numbers, or their equivalent, set down by handwrting, typewrting, printing, photostating,
         photographing, magnetic impulse, mechancal or electronic recording, or other foim of data
         compilation." KR 1001.

                 If any request for production is objected to on the ground of privilege or otherwise set
         forth fully, each such objection and the facts upon which you rely as the basis for each such
         objection.

                If any documents are withheld or not identified under claim of privilege, for each request
         for production to which the documents responds, fush a list identifying each such document



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        for which the privilege is claimed, together with the subject matter thereof, and state the basis for
        which the asserted privilege is claimed.

                1. Please provide a signed copy of any Agreement for the Account.


                RESPONSE:


                2. If you do not have a copy of the signed Agreement for the Account, please
        provide a copy of any Agreement for the Account that you allege controls the rights and
        liabilties of the paries.

                RESPONSE:


                3. Please provide a copy of any and all account statements relating to the Account.


                RESPONSE:


                4. Please provide a copy of       all required notices under 15 U.S.C. § 1692g that you
        sent to Plaintiff. If notices are not dated, please also state the date on which the notices were sent.

                RESPONSE:



                5. Please provide copies of all letters, notices, documents, and correspondence sent
        to or received from Plaintiff relating to the Account.

                RESPONSE:


                6. Please produce copies of any and all Universal Data Forms that you have sent any
        consumer reportng agency concernng Plaintiff and/or the Account.

                RESPONSE:




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                  7. Please produce a complete copy of                               the agreements that constitute the chain of                  title
       for the Account staing with the agrement between the originator of the Account and its
       assignee and including each agreement between an assignee of      the Account and another assignee
       of  the Account and/or you. This is a request for the entire agreement, not just a bil of sale or
       exhbit to an agreement, and includes master agreements whose terms relate in any way to or are
       incorporated by an agreement or bil of sale transferrng rights to the Account. In order to protect
       the privacy of other debtors whose Accounts may be included in such agreements, you may
       redact or otherwise omit inormation identifying any debtor other than the Defendant.

                  RESPONSE:


                  8. Please produce any and all notices sent to Plaintiff                    by you, the original creditor, or
       any other paries inorming Plaintiff                      that the Account had been assigned to you.

                  RESPONSE:


                  9. Please produce the entire purchase agrement between you and the assignee of the
       account, specifically including any provisions thereof        regarding the acquisition of
       Documentation of            the Account from the assignee and/or the original creditor.

                  RESPONSE:


                  10. Please produce any other agreements, other th the purchase agreement
       requested in Request No.9, between you and the assignor ofthe Account and/or the original
       creditor, and any other responsive documents, which describe the following: The purchase,
       acquisition, and availability of              Documentation of            the Account at the time the Account was
       assigned; the acquisition and availability of Documentation of the Account subsequent to the
       time the Account was assigned; the time period subsequent to assignent durng which the
       assignor and/or the original creditor will honor requests for additional Documentation of                            the
       Account; whether the assignor and/or the original creditor honors expedited or emergency
       requests for Documentation of the Account; and any additional consideration demanded by the
       assignor and/or the original creditor for Documentation of                              the Account, over and above the
       consideration paid for the Account itself, whether in the form of costs, fees, credits, offsets, and
       the like.

                  RESPONSE:


                  11. Please produce all documents containing any waranties or representations made
       by the originator or any Assignor of                     the Account to you or another Assignor of                          the Account.

                  RESPONSE:



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                12. Please produce all docwnents indicating the consideration you paid to obtain your
        rights in the Account.

               RESPONSE:


                13. Please produce all documents indicating or describing the scope or extent of    the
        rights you own in the Account.

               RESPONSE:


                14. Please produce all documents indicating or describing the scope or extent of the
        rights that anyone other th you owns in the Account.

               RESPONSE:


                15. Please produce all other documents, logs, and correspondence relating to
        Defendant and/or the Account, including collection records, letters, and call or
        communication logs.

               RESPONSE:



                    16. Please produce all documents involving communications between you and any of the
        following persons, in wluch the communication in any way referenced Plaintiffs) and/or any of
        their personal identifiers and/or any of  the account nwnbers:

                    a. Equifax Credit Information Services, Inc.;
                    b. Trans Union Corporation;
                    c. Experian Information Solutions LLC;
                    d. TRW, Inc., or any other entity with a name, legal, trade or assumed, which includes
        "TRW";
                    e. Any other consumer reporting agency.

               RESPONSE:




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                                                    Respectfully Submitted,




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                                                                Fax: (502) 473-6561
                                                                james@kyclc.com

                                                                James McKenzie
                                                               James R. McKenzie Attorney, PLLC
                                                               4055 Shelbyvile Road
                                                                Suite B
                                                                Louisvile, KY 40207
                                                                Tel: (502) 371-2179
                                                                Fax: (502) 257-7309
                                                                jmckenzie@jmckenzieatt.com


                                                                Certificate of Service

                   I hereby certify that a true and correct copy of              the foregoing was served on Defendant
        Stellar Recovery, Inc. contemporaneously with the Sumons and Complaint pursuant to CR
        34.02 via U.S. Mail, postage prepaid, or email on this 18th day of                 September, 2013




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